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To Case 1:19-cr-00320-CCB Document1 Filed 06/28/19 Page 1 of 3
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MWS fib USAO2019R00182
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA x =
* criminano. CEO IFO 320
v. *
* (Sex Trafficking Conspiracy, 18 U.S.C.
DAVID B. GOODWIN, * §1594(c))
* .
Defendant. * ———— FLD SEED.
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INFORMATION gn te SETAE cou
By
COUNT ONE

(Sex Trafficking Conspiracy)

The United States Attorney for the District of Maryland charges that:

Beginning at least on or about October 26, 2018 and continuing through on or about
October 30, 2018, in the District of Maryland and elsewhere, the defendant,

DAVID B. GOODWIN,

together with others, did knowingly in and affecting interstate and foreign commerce, combine,
conspire, confederate and agree with others, known and unknown, to viclate Title 18, United States
Code, Section 1591(a)(1), namely, to recruit, entice, harbor, transport, provide, obtain, and
maintain by any means “Victim 1” knowing, and in reckless disregard of the fact, that means of
force, threats of force, fraud, and coercion as defined in Title 18, United States Code, Section
1591(e)(2), or any combination of such means, would be used to cause “Victim 1” to engage ina
commercial sex act,

18 US.C. § 1594(c)
18 U.S.C. § 1891(a)(1)
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Case 1:19-cr-00320-CCB Document 1 Filed 06/28/19 Page 2 of 3

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F ORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further charges that:

1. Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with
Title 18, United States Code, Section 1954(e)(1) and (2), in the event of a conviction on Count
One of this Information; and the United States will seek forfeiture as part of any sentence in
accordance with Title 18, United States Code, Section 2428, in the event of a conviction on Count
One of this Information.

2. As a result of the offenses set forth in Counts One of this Information, defendant,

DAVID B. GOODWIN,
shall forfeit to the United States of America
a, Any property, real or personal, constituting, traceable, or dertved from gross
profits or other proceeds obtained, directly or indirectly, from the offense;
b. The defendant's interest in any property, real or personal, used or intended
to be used to commit or to promote the commission of the offense.
3. If any of the property described above as being subject to forfeiture pursuant to 18

U.S.C. § 1594(e)(1) and (2) and 18 U.S.C. § 2428, as a result of any act or omission of the

defendant,
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d, has been substantially diminished in value; or
Case 1:19-cr-00320-CCB Document1 Filed 06/28/19 Page 3 of 3

e, has been commingled with other property that cannot be subdivided without

difficulty;
the United States intends to seek forfeiture of any other property of the defendants up to the value

of the above forfeitable property.

18 U.S.C. § 1594(e)

18 U.S.C. § 2428

28 U.S.C. § 2461(c)

18 U.S.C. § 924(d)

Rule 32.2(a), Fed. R. Crim. P.

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Robert K. Hur
United States Attorney

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